 

“RIVERSIDE, CALIFORNIA. =
CERTIFICATE. OF DEATH 3201033005183

  

        
            
      
      
     

  

 

 

 

 

   

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

        

 

STATE FILE NUMBER ps Use stacy BEER pas ey He POUTS OA ERATIONS LOCAL REGISTRATION NUMBER
1, NAME OF DECEDENT-FIAST (Glven} f 2: MIDDLE ° z CAST Fain) z :
«| ROBERT .| ALBERT APPEL -
e
@ _| AKA. ALSO KNOWN AS = Inctude full AKA (FIAST, MIDDLE, LAST) 4. DATE OF BIRTH mnvdd/cayy | §, AGE Yrs. ee oan | ea | 8. SEX
a 8 nths. Days Hours ‘ Minutes
2 cogs (AB be eho de eh M
z : . _— i .
a 9. BIRTH STATE/FOREIGN COUNTRY 10. SOCIAL SECURITY NUMBER 2] 12. MARITAG: ATOSASROP Tinaat aban 7. oie OF CEA nvadlocyy 8: HOUR: (24 Hours)
= CA NEVER.MARRIED  |.05/44/2010 “| 2355
B 19, EDUCATION ~ Highest Level/Degrea] 14/15. WAS DECEDENT HISPANIC/LATINO[AVSPANISH? (It yes, #80 Workshaat on back) 18. DECEDENT'S RACE - Up to 3 raves may be listed (see workeheat on back} !
: a (see workshaat on back} Cs CAUCASIAN
\ G | DOCTORATE so ! . :
we 17, USUAL OGCUPATION ~ Type of work for most of lite, OO NOT USE RETIRED =." | 18, KIND OF BUSINESS.OR INDUSTRY (a. e roceny fore, read construction, cmnloyment og agency, jae) 419, YEARS 1N OCCUPATION
ATTORNEY , : 2A | LEGAL 16

 

 

 

 

20. DECEDENT'S RESIDENCE {Streat and number, or location)

    
 
   

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

  

 

 

 

 

 

4 8 | 440 DESERT HOLLY DRIVE cet oo, Loo mages, cage ecto gee
> 3B lacnvy 22, COUNTY/PROVINGE 23, ZIPCODE 7 YE AS.IN COUNTY, 25. STATE/FOREIGN COUNTRY

” # | PALM DESERT . RIVERSIDE : 922 tA. oO. SALCA ,

a 5 26, INFORMANT'S NAME, RELATIONSHIP x SCONES OBIVE "Sk and NCHO WIR number, ea state and zip}

# 3) CAROLE S. KRECHMAN, MOTHER =. gous LGA RAGE, CA 82270

az 26, NAME OF SURVIVING SPOUSE/SROP*-FIRST cy | 28 Malone

i ~

5 & 31, NAME OF FATHER/PARENT-FIRST 32, MIDDLE 34, BIRTH STATE.
— 3 2| WARREN ~ | ALLEN CA
: 3 E V'a5, NAME OF MOTHER/PARENT-FIRST 7 =,» | 36-MIDDLE: 38, BATH STATE

* | CAROLE ~ |Lois~ CA

2 39. DISPOSITION DATE men/dd/ecyy 40, PLAGE OF FINAL DISPOSITION RES. GAROLE S. RRECHMAN

ee 05/24/2010 30 COLGATE DRIVE, RANCHO MIRAGE, ‘CA 92270

= 2 41. TYPE OF DISPOSITION(S) : = wes SIGNATURE OF EMBALMEB 43. LICENSE NUMBER

2 5 CRIRES a 8 > shy NOT EMBALMED oF

z g 44. NAME OF FUNERAL ESTABLISHMENT 45. LICENSE NUMBER | 48, SIGNATURE OF LOGAL REGISTRAR 47, DATE mmdd/ecyy

z ~| FOREST LAWN MEM. PARKS & MTYS.- [Pb see “| > ERICK, -FRYKMAN, M. D... 05/20/2010

 

 

 

   
 
 

 

  
      

101. PLACE OF DEATH - st, f-103. IF OTHER THAN HOSPITAL, SPECIFY ONE:

EISENHOWER MEDICAL CENTER [] rose [pitts FEL" [one

104, COUNTY 105, FACILITY ADDRESS OR LOCATION WHERE FOUND (Street and nuriber, or location) 106. CITY

RIVERSIDE 39000 BOB HOPE DRIVE RANCHO. MIRAGE

hat directly caiieed oaths BO NOTE enter Toernal events Ch: Time interval Between } 108. DEATH REPORTED TO CORONEAT

 

 

 

 

 

PLACE OF
DEATH

 

 

 

                  
         
         
         
             
         
        
  
 
 
 
    

 

 

 

 

 

 

 

 

 

107. CAUSE OF DEATH Eniar the chain of ronte -- dieoases, lites, 6 corfphoations
as cata amet respisony arin epic feton wit! showing the elifogy D0 NOT ABBE Ors ant Det ws [Jno
IMMEDIATE CAUSE “ PENDING a PerEMAL mer
Final cease oF i 2010-03858
condition resutling : a
hy
in death} a ‘| 108, BIOPSY PERFORMED?
Sequantialty, tst i : EF] YES. NO
conditions, if any, .
E J ieading to cause a “on > (110: AUTOPSY PERFORMED?
a on Line A. Enter i :
UNDERLYING ‘ Lx] C]
® CAUSE (disease or — ' YES NO
© fF injury that "on 14. USED IN DETERMINING CAUSE.
| Intisted tho wvents o ‘
resulting in death) LAST te [x] Cy
z [x] ves No

 

 

 

112. OTHER SIGNIFICANT CONDITIONS CONTRIBUTING TO DEATH BUT NOT RESULTING IN THE.UNDERLYING CAUSE GIVEN IN-107.-""

 

w~N
113, WAS OPERATION PERFORMED FOR ANY CONDITION IN ITEM 107 OR 1127 (if yes, ist type of operation and date) ve fet : _ | 118 FEMALE, PREGNANT IN LAST YEAR?|

 

 

  

 

  

1141 CERTIFY THAT TO THE BEST CF MY KNOWLEDGE DEATH OCCLRED | 115, SIGNATURE AND TITLE OF-CERTIFIER

 

 

 

 

 

 

 

 

 

 

 

    

 

 

   

 

 

 

 

 

Zz “| 116, LICENSENUMBER [117, DATE mnvdd/ooyy
2 B | Ar eroun DFE Ao PLACE STATED FROM TE GASES STATED. >
s Decadent Attended Sit Decadent Last Seari Alive _ ‘
oe ee nee sm we 115, TYPE ATTENDING PHYSICIAN'S NAME, MAILING ADDRESS, ZIP CODE. St -
E E ! Be Seas Lg : .
' . / ne SR BO : z
- 119. (SF RG OEEERDA DEVO One ROR EERE GCA SS “= “420e1NJUREO AT WORK?- 121. INJURY DATE- 122, HOUR (4 Hour Sa
Mannenor DEATA[ | Newt [7] Accident[” ] Homicite [7] suttoe [XK] POE, ame [ves no |] unc
>, 123. PLACE OF INJURY (e.g, home, construction site, wooded area, etc) ae
z .
aw os tam.
3 124, DESGRIBE HOW INJURY OCGUBRED (Events which resulted In injury) oe on
i x<
3 125. LOCATION OF INJURY (Street and number, or kacation, and city, and zip} Lu
° . .
° 8 £ BG : ,
126, SIGNATURE OF CORONER / DEPUTY GORONER Toe TOIDATE mm/dd/ccyy | 428, TYPE NAME, TITLE OF CORONER / DEPUTY CORONER
“DENISE FERRIS &@ 05/18/2010 DENISE FERRIS, DEPUTY CORONER
1
stare 4 5 ° th ce PAXAUTHE oj SENSUS TRACT
REGISTRAR .

 

 

   

 

 

 

 

 

 

 

    
  
    
   
     

  

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; On

STATE OF CALIFORNIA i es
‘COUNTY OF RIVERSIDE

This is a true and exact reproduction of the document officially registered ‘and a
placed on file in the office of the County of Riverside,

Department of Health. .
Sep 29,2010
DATE ISSUED 2

This copy not valid unless prepared on engraved border displaying seal and signature. of Registrar.

   

 

 

 

= Erie Fiykman, MO. Leal Registiar
: RIVERSIDE COUNTY, GALIFORNIA.

 

 
   
   
   
   

os RIVERSIDE, , CALIFORNIA

_ AFFIDAVIT TO AMEND A RECORD

2NO ERASURES, WHITEQUTS,
OR ALTERATIONS ©.

_DEATH

 

STATE FILE NUMBER

41

(] BIRTH &

 

 

C] FETAL DEATH
TYPE OR PRINT CLEARLY-IN BLACK INK ONLY= THiS AMENDMENT BECOME

 

 

    

   

 

 

 

¢ 3201033005183)

LOCAL REGISTRATION NUMBER

  

 

 

ES AN Acti AL PART OF THE OFFICIAL RECORD

 

    

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

PART | INFORMATION TO LOCATE RECORD
1A. NAME—FIRST ; 1B. MIDDLE... - sei AG. LAST
=. ROBERT - | ALBERT: APPEL #
INFORMATION 2. SEX 3. DATE'OF EVENT=MIWDDIGEYY 4. CITY OF EVENT i 5, COUNTY OF EVENT
SN OnIGHARS | M 05/14/2010 RANCHO MIRAGE RIVERSIDE
RECORD | 6. FULL NAME OF FATHERIPARENT AS STATED ON ORIGINAL RECORD: 7. FULL NAME.OF MOTHERIPARENT-AS STATED ON ORIGINAL RECORD
WARREN ALLEN APPEL- . Bo CAROLE LOIS SUMNER: el
PART II STATEMENT OF CORRECTIONS TO:BIRTH, DEATH, OR FETAL DEATH. RECORD
8. ITEM 8. INCORRECT INFORMATION THAT APPEARS, ON ORIGINAERECORD: | 10: CORRECTED: INFORMATION AS IT SHOULD APPEAR
NUMBER TO BE
CORRECTED | ee :
39 O5DAROT OeOT90T0.
LIST ONE
ITEM PER
LINE
o
| "TO AMEND DISPO DATE.
REASON FOR
CORRECTION
We, the undersigned, hereby certify‘under penalty: of perjury that we have | jersonal knowledge of the above facts and:
that the information given above is true and correct, 2 2: :
rey (TS | 424, SIGNATURE OF FIRST PERSON 1 428, PRINTED NAME Tee. TITLEJRELATIONSHIP TO PERSON IN PART |
SIGNATURES | BRITTANY CLARK / ® A _ BRITTANY. CLARK hee, MORTUARY.CLERK....
two 12D. ADDRESS (STREET and NUMBER, CITY, STATE, zip) _P ] 128. DATE SiGNED—wwop/ecyY ~
PERSONS 69855 RAMON ROAD, CATHEDRAL CITY, CA 92234 _ 06/03/2010
This PORK O 413A, SIGNATURE OF SECOND PERSON £198, PRINTED NAME 430. TITLE/RELATIONSHIP TO PERSON IN PART |
CORRECT A : Ei =,
BIRTH, DEATH, p COLLEEN BABCOCK ae ee BABCOCK CLERK
OR 13D, ADDRESS (STREET and NUMBER, CITY, STATE:ZIP) = 43E. DATE-SIGNED—MMIDDICCYY
RECORD 69855 RAMON ROAD, CATHEDRAL CITY, CA 92234 06/03/2010
is . \
STATE/LOCAL | 14 OFFICE‘OF VITAL RECORDS OR LOGAL REGISTRAR. ‘+ i: | 45. DATE ACCEPTED FOR REGisTRATION |
REGISTRAR | : :
USEONLY, | pERICK. FRYKMAN, M.D. . EG | 06/03/2010

 

 

 

STATE OF CALIFORNIA, DEPARTMENT OF PUBLIC HEALTH, OFFICE OF VITAL RECORDS

   

STATE OF CALIFORNI \ ; 7
COUNTY OF RIVERSIDE f SS -

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placed on file in the office of the County of Riverside, .
Department of Health.

Sep 29, 201 oO

DATE ISSUED

; Eric Fiykma, M. DerLdgal Registir
“RIVERSIDE COUNTY, GALIFORNIA ..

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CERTIFIED copy OF VITAL RECORDS

 
 
  

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SEARE OF CALFEORNIA-

    

RIVERSIDE, CALIFORNIA

 
 
  

  

.PHYSICIAN/CORONER’ s AMENDMENT,

 
 

 

     

 

      
      
 
 

3052010101579 NO-ERASURES, WHITEQUTS, PHOTOCOPIES 3201033005183
STATE FILE NUMBER vt x OR ALTERATIONS... Ho “LOCAL REGISTRATION NUMBER
2.1 0 eirTH = DEATH CO) FETAL DEATH

 
 

   

TYPE OR PRINT CLEARLY'IN BLACK INK: ONLY = THIs AMENDMENT BECOMES AN ACTUAL: PART OF THE OFFICIAL RECORD |
PARTI INFORMATION TO: LOCATE RECORD »

     
 
 

 

 
        
  
  

 

   
     
  

 

 

 

 
 
 

 

   

     

INFORMATION 1A, NAME—FIRST . | “4B, MIDDLE: C 2 SEX
as iT appears | ROBERT. oon A “ALBERT M_
ON SRISINAL 3, DATE OF EVENT_MM/DDICCYY “| 4. CITY OF EVENT 5 COUNTY OF EVENT

05/14/2010 RANCHO MIRAGE RIVERSIDE _
PARTI STATEMENT OF CORRECTIO NS ee

  
  

 

  
     
 
 

 

     
       
    
    
   

 

    
 
 

 

 
 

 

 
 

 

     
 

 

     
 

 

 

 
 

 

 
 

 

      
 

 

    
    
 
 

 

6, CERTIFICATE | 7. INFORMATION AS IT APPEARS ON ORIGINAL RECORD : 8. INFORMATION AS FT SHOULD APPEAR
NUMBER cp tg ue Te oe “he whe.
107A. PENDING © UUDDEN “CARDIAC ARREST \
Po “ "FOLLOWING PHYSICAL ,
LIST ONE / ALTERCATION WITH LAW i
ITEM PER . . ete cs oy, oe ENFORCEMENT > oe .
1O7AT : j ef 8 oF MINS =
112 a ALCOHOLIC CARDIOMYOPATHY
113 . _. ‘NO . . -
119 *_| PENDING INVESTIGATION: - oe HOMICIDE _ LO
120... a = tNO. “Panera
124 oe 0514/2010" YTS
1. |... : |? _
© 1423 IN FRONT OF. RESIDENCE. ,
— 124 “INVOLVED IN PHYSICAL
“ue | ALTERCATION WITH LAW
: ENFORCEMENT =~ Ee
125 455 DESERT-HOLLY DRIVE, }

   
  

 

 

 

 

 

 

| HEREBY DECLARE UNDER PENALTY-OF PERJURY THAT THE ABOVE INFORMATION IS TRUE AND CORRECT TO THE BEST OF
MY KNOWLEDGE,

 
 

 

  
  

 

 

  
 
 

      
  

 

  
  

 

 

    
    

DECLARATION 9, SIGNATURE OF CERTIFYING PHYSICIAN OR CORONER _10. DATE SIGNED—MM/DDICCYY...| .11. TYPED OR PRINTED NAME AND TITLE/DEGREE OF CERTIFIER
SEETHING, | STANLEY SNIFF JR. BB | 08/90/2010" _SHERIFF-CORONER
PHYSICIAN OR ae: .
CORONER [772 ADDRESS—STREET ard NUMBER , 4a. CY = ‘ 14, STATE 48. ZIKCODE
800 SOUTH REDLANDS AVE PERRIS . CA , 92570

 

 

      

STATE/LOCAL . | 16OFFICE OF VITAL RECORDS OR LOCAL REGISTRAR. E47. DATE AGCEPTED FOR REGISTRATION MDDICEY
REGISTRAR

REGISTRAR | | STATE REGISTRAR - OFFICE OF VITAL RECORDS s EG 08/34/2010

STATE OF CALIFORNIA, DEPARTMENT OF PUBLIC HEALTH, OFFICE OF VITAL RECORDS cee FORM VS 24A¢ (REV. 4/08)
a we 01579994" : :

“ 24

  
 
 

 

 
 

 

 

 
    
 
 

   
   

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STATE OF CALIFORNIA - ,

“COUNTY OF RIVERSIDE f 5S

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Department of Health.  Haif veri gd
Sep 2g. 201 oO] .. Eric Fiykmai, M.D., Local Registiar

= RIVERSIDE COUNTY, CALIFORNIA .,

 
 

 
 

 
 
   

       
 
 

 

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